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                 IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

IN RE:                                    §             Case No. 22-60043
                                          §
FREE SPEECH SYSTEMS, LLC,                 §             Chapter 11 (Subchapter V)
                                          §
       Debtor.                            §

                       CONNECTICUT FAMILIES’
          WITNESS AND EXHIBIT LIST FOR EMERGENCY HEARING

 Judge                    Hon. Christopher M. Lopez
 Hearing Date             Friday, August 12, 2022
 Hearing Time             1:00 p.m. (CST)
 Party’s Name             David Wheeler, et al.
 Attorney’s Name          Ryan Chapple and Randy Williams
 Attorney’s Phone         512-477-5000
                          Debtor’s Emergency Motion to Amend Interim Order
 Nature of Proceeding
                          Authorizing the Use of Cash Collateral [Dkt. 55]

                           WITNESS AND EXHIBIT LIST

       David Wheeler, Francine Wheeler, Jacqueline Barden, Mark Barden, Nicole

Hockley, Ian Hockley, Jennifer Hensel, Donna Soto, Carlee Soto Parisi, Carlos M. Soto,

Jillian Soto-Marino, William Aldenberg, William Sherlach, and Robert Parker

(collectively, the Connecticut Families) hereby submit this Witness and Exhibit List in

connection with the hearing on Debtor’s Emergency Motion to Amend Interim Order

Authorizing the Use of Cash Collateral (the Emergency Motion) [Dkt. 55] to be held on

Friday, August 12, 2022 at 1:00 p.m. (central standard time):

       Counsel for the Connecticut Families reserves the right to supplement, amend, or

delete any witnesses or exhibits prior to the hearing. Counsel for the Connecticut Families

reserves the right to supplement the Witness and Exhibit List with new witnesses and

additional exhibits. Further, counsel reserves the right to use any exhibits presented by




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any other party and to ask the Court to take judicial notice of any document. Counsel for

the Connecticut Families further reserves the right to introduce exhibits previously

admitted.

                                          WITNESS LIST

         •       W. Marc Schwartz
         •       Patrick Reiley
         •       Any witness listed or called by any other party.

                                          EXHIBIT LIST

  IF YOU SEEK A COPY OF THE EXHIBITS, YOU CAN ACCESS THEM BY
     SUBMITTING A WRITTEN REQUEST TO ARLANA PRENTICE AT
                   APRENTICE@CSTRIAL.COM.

         Counsel for the Connecticut Families may offer for admission into evidence any of

the following exhibits at the hearing:

                                                                       Date    Disposition
 No.         Description                                 Offer   Obj   Admit    after trial
    1.       Interim Order Authorizing the Debtor’s
             Use of Cash Collateral and Providing
             Partial Adequate Protection [Dkt. 41]

    2.       Declaration of W. Marc Schwartz in
             Support of Voluntary Petition and First
             Day Motions [Dkt. 10]

    3.       Blue Asension Logistics LLC - Certificate
             of Formation dated March 7, 2022

    4.       Email from aj76@alexjones.net to
             Patrick@infowars.com dated June 22,
             2018 re: phone call with Marc Randazza

    5.       Email from aj76@alexjones.net to
             Patrick@infowars.com dated July 5, 2016
             re: Boat Dock after the 4th

    6.       Blue Asension Logistics price list dated
             July 18, 2022

    7.       Text messages between Alex Jones and
             Patrick Reiley




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          Any exhibits designated by other parties

          Any exhibits necessary for rebuttal


       Respectfully submitted this 12th day of August 2022.


                                                   /s/ Ryan E. Chapple
                                            Ryan E. Chapple
                                            State Bar No. 24036354
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                                            Austin, Texas 78701
                                            512-477-5000
                                            512-477-5011—Facsimile

                                            and

                                            Randy W. Williams
                                            State Bar No. 21566850
                                            Email: rww@bymanlaw.com
                                            BYMAN & ASSOCIATES PLLC
                                            7924 Broadway, Suite 104
                                            Pearland, Texas 77581
                                            281-884-9262
                                            ATTORNEYS FOR WHEELER, ET AL.

                              CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Witness and Exhibit
List has been served on counsel for Debtor, Debtor, and all parties receiving or entitled to
notice through CM/ECF on this 12th day of August 2022.


                                                  /s/ Ryan E. Chapple
                                            Ryan E. Chapple




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